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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES -REOPENING/CLOSING

Case No. 2:20-cv-06093-JFW-PLAx                                   Date October 2, 2020

Title: Abbyson Living LLC v. Melrose Discount Furniture, Inc.

Present: The Honorable John F. Walter




                   S. Reilly                                           Not Reported
                Deputy Clerk                                     Court Reporter / Recorder


Attorneys Present for Plaintiffs:                 Attorneys Present for Defendants:
Not Present                                        Not Present




Proceedings:    G In Court          G
                                    ✘ In Chambers       G Counsel Notified

G Case previously closed in error. Make JS-5.

G Case should have been closed on entry dated                            .

G Case settled but may be reopened if settlement is not consummated within                        days.
  Make JS-6.

✘ Other NOTICE Notice of Dismissal Pursuant [11]. Make JS-6.
G

G Entered                                  .




                                                                  Initials of Preparer       sr




CV-74 (10/08)                       CIVIL MINUTES -REOPENING/CLOSING
